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 16                            UNITED STATES DISTRICT COURT
 17            CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 18
 19    NANCY FIEDLER, et al.,                              Case No. 2:21-cv-07065-PA-MRW
 20                                                        PLAINTIFFS’ STATEMENT OF
              Plaintiffs,                                  DISPUTED MATERIAL FACTS
 21
       vs.
 22
 23    UNITED STATES OF AMERICA
 24
              Defendant.
 25
 26
 27
 28


                                                     1
                            PLAINTIFFS' STATEMENT OF MATERIAL FACTS IN SUPPORT OF
                                OPPOSITION TO UNITED STATES’ MOTION TO DISMISS
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  1
  2                    FACT                                SUPPORTING EVIDENCE
  3    1.    On September 2, 2019, a fire 1.    Exhibit 1 (NTSB Board Marine
       broke out on board the motor vessel Accident Report at Pgs. 10-11, 61).
  4
       Conception while she lay at anchor off
  5    the north shore of Santa Cruz Island.
  6
       2.     Thirty-nine people were on board 2.        Exhibit 12 (NTSB Group
  7
       the vessel at the time of the fire – thirty- Chairman’s Report - Survival Factors
  8    three passengers and six crew members. Group at Pgs. 2:21-4:10).
  9                                                    .
 10    3.    Thirty-four of the people on 3.     Exhibit 12 (NTSB Group
 11    board Conception -- all thirty-three Chairman’s Report’s - Survival Factors
       passengers and one crew member -- Group at Pgs. 2:21-4:10).
 12    perished in the fire.
 13
       4.     Conception had three decks: a sun        5.    Exhibit 12 (NTSB Group
 14    deck atop the house (where the bridge           Chairman’s Report’s - Survival Factors
 15    and crew accommodations were                    Group Pgs. 5:21-6:9; see also Exhibit
       situated); a main deck (where the galley        “1” National Transportation Safety
 16
       and salon were housed); and a below-            Board Marine Accident Report at Pg. 3
 17    deck bunk room in the hull (where the           depicting a simple diagrammatic plan
 18
       passenger      accommodations       were        and profile view of the vessel).
       located).
 19    7.     At the time of the fire,                 7.     Exhibit    3  (NTSB     Group
 20    Conception was furnished with a large           Chairman’s Factual Report – Fire and
       plastic trash can that was located at the       Explosions Group – dated May 7, 2020,
 21    after end of the deck house, beneath the        at Pg. 20, Figure 9.
 22    wooden stairs leading from the main
       deck to the sun deck.
 23
 24
 25
 26
 27
 28


                                                   2
                          PLAINTIFFS' STATEMENT OF MATERIAL FACTS IN SUPPORT OF
                              OPPOSITION TO UNITED STATES’ MOTION TO DISMISS
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  1    8.     At the time of the fire,                  8.    Exhibit 7 (May 26, 2023,
  2    Conception’s galley and salon were               deposition of Inge Courtois, in her
       furnished with fifteen to twenty-five            capacity as Person Most Qualified for
  3    plastic garden chairs manufactured by            Truth Aquatics at Pgs. 98:11-103:1;
  4    the Grosfillex Company (“Grosifillex             Exhibit 3 (NTSB Group Chairman’s
       garden chairs”).                                 Factual Report – Fire and Explosions
  5
                                                        Group - dated May 7, 2020. at Pg. 16,
  6
                                                        Figures 4 and 5).
  7    9.        In addition to the Rubbermaid          9.       Exhibit 3 (NTSSB Group
  8    trash can described in Statement of              Chairman’s Factual Report – Fire and
       Disputed Material Fact No. 7, the area at        Explosions Group, dated May 7, 2020 at
  9    the after end of the deck house, beneath         Pg. 20, Figure 9.
 10    the wooden stairs leading from the main
       deck to the sun deck, was also furnished
 11
       with a plastic waste container and a
 12    plastic rinse bucket.
 13    10. In October of 2023, the United               10.   Hillsman Declaration at Par. 7.
       States Department of Justice prosecuted
 14    Conception’s Captain, Jerry Nehl
 15    Boylan, for his role in events.
       11. During Captain Boylan's criminal             11. Exhibit 5]. (Trial testimony of
 16
       trial, Senior ATF Fire Research                  Jonathan Butta, ATF Senior Fire
 17    Engineer, Jonathan Butta, and ATF                Research Engineer, October 31, 2023, at
       Special      Agent      Certified     Fire       Pgs. 28:3-18, 37:24-38:2, 53:2-14;
 18
       Investigator, Derrick Hill, testified that       Exhibit 6] (Trial Testimony of Derrick
 19    the fire on board Conception started in          Hill, ATF Special Agent Certified Fire
 20    the large plastic trash can described in         Investigator, October 31, 2023, Pgs.
       Statement of Disputed Material Fact No.          125:21-129:20).
 21    7.
 22
       12. The large plastic trash can                  12. Exhibit 2 (ATF Report, Pg. 133,
 23
       described in Statement of Disputed               §§ 384-385; Pg. 196, § 570).
 24    Material Fact No. 7 was manufactured
 25
       in May 2016 by Rubbermaid (“the
       Rubbermaid trash can”).
 26    13. In addition to the Rubbermaid                13. Exhibit 3. (NTSB Group
 27    trash can, Conception was also                   Chairman's Factual Report, Fires and
       furnished with plastic waste receptacles         Explosions, dated May 7, 2020, at Pg.
 28    in the galley, salon, and bunkroom.              9).

                                                    3
                          PLAINTIFFS' STATEMENT OF MATERIAL FACTS IN SUPPORT OF
                              OPPOSITION TO UNITED STATES’ MOTION TO DISMISS
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  1    14. United States Coast Guard                  14. Exhibit 6 (April 12, 2023,
  2    Commander         Stephanie     Hodgdon        Deposition of United States Coast
       testified, in her capacity as the Person       Guard Commander Stephanie Hodgdon
  3    Most Qualified under Rule 30(b)(6),            at Pgs. 29:20-32:14, 217;18-218:10, and
  4    that 46 CFR § 176.830 left the Coast           229:24-232:6).
       Guard Marine Inspectors (“OCMIs”)
  5
       from Marine Safety Detachment
  6    (“MSD”) Santa Barbara under “a
  7    mandatory duty” to identify, write up,
       and rectify any potential fire hazards
  8    they observed whenever they inspected
  9    Conception.
       15. The New T-Regulations, 46 CFR           15. Exhibit 6 (April 12, 2023
 10
       177.405(f) provides:                        deposition of United States Coast Guard
 11                                                Commander Stephanie Hodgdon, in her
               "Unless other means are provided capacity as Person Most Qualified under
 12
               to ensure that a potential waste Rule 30(b)(6), at Pgs. 231:11-18).
 13            receptacle fire would be limited
 14            to    the     receptacle,     waste
               receptacles must be constructed
 15            of non-combustible materials
 16            with no openings in the sides or
               bottom."
 17
       16. United States Coast Guard 16. Exhibit 6 (April 12, 2023,
 18    Commander         Stephanie       Hodgdon deposition of United States Coast Guard
 19
       testified, in her capacity as the Person Commander Stephanie Hodgdon, at
       Most Qualified under Rule 30(b)(6), Pgs. 235:11-236:3, 242:4-243:9).
 20    that the Rubbermaid trash can was an
 21    obvious fire hazard.
       17. The Conception and two similar 17. Exhibit 7 (May 26, 2023,
 22    dive boats, the Truth and the Vision, deposition of Inge Courtois at Pgs.
 23    were based in Santa Barbara and 47:12-22).
       operated by Truth Aquatics, Inc.
 24
       18. Conception had been furnished 18. Exhibit 7 (May 26, 2023,
 25    with the Rubbermaid trash can and the deposition of Inge Courtois, in her
 26    other Non-metallic waste containers capacity as Person Most Qualified under
       described in Statement of Disputed Rule 30(b)(6), at Pgs. 85:5-86:2, 86:21-
 27    Material Fact No. 14 hazards for several 87:1; 87:20-90:22; 92:19-25; 94:11-
 28    years prior to the fire in positions aboard 98:9).


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                         PLAINTIFFS' STATEMENT OF MATERIAL FACTS IN SUPPORT OF
                             OPPOSITION TO UNITED STATES’ MOTION TO DISMISS
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  1    the vessel that would and should have
  2    been obvious to any OCMI who boarded
       the vessel.
  3
       19. United States Coast Guard                   19. Exhibit 6. (April 12, 2023,
  4    Commander        Stephanie     Hodgdon          deposition of United States Coast Guard
       testified in her capacity as the Person         Commander Stephanie Hodgdon at Pgs.
  5
       Most Qualified under Rule 30(b)(6),             232:2-6, 243:10-243:23).
  6    that the Grosfillex garden chairs
  7    described in Statement of Disputed
       Material Fact No. 8 were also obvious
  8    fire hazards.
  9    20. Truth Aquatics, Inc. purchased              20. Exhibit 7 (May 26, 2023,
       those Grosfillex garden chairs on July          deposition of Inge Courtois at Pgs.
 10
       11, 2008, and thereafter left them in           98:12-103:1; [Exhibit "8"]. (Invoice for
 11    positions aboard Conception that would          64 Miami Bistro Charcoal Outdoor
 12
       and should have been obvious to any             Stacking side chairs shipped to Truth
       OCMI who boarded the vessel.                    Aquatics on July 11, 2008, produced in
 13                                                    response to Plaintiffs' Request for
 14                                                    Production (Set Two) in the pending
                                                       state court action captioned Fiedler v.
 15                                                    Truth Aquatics, Inc., et al., Bates
 16                                                    stamped No. Truth002801).
       21. OCMIs from MSD Santa Barbara                21. Exhibit 7 (May 26, 2023,
 17
       Guard conducted seven inspections of            deposition of Inge Courtois, in her
 18    the Conception between 2015 and 2019,           capacity as Person Most Qualified under
 19    but the Coast Guard never directed              Rule 30(b)(6), at Pgs. 98:12-103:1.);
       Truth Aquatics to remove or replace             Exhibit 3 (NTSB Group Chairman’s
 20    those combustible plastic chairs or trash       Factual Report, Fires and Explosions,
 21    cans from the vessel.                           dated May 7, 2020 at Pg. 9.); Exhibit 0
                                                       (Marine Information for Safety and Law
 22                                                    Enforcement (“MISLE”) Activity
 23                                                    Summary Reports for the inspections of
                                                       Conception dated February 4, 2015
 24
                                                       (US000176- 000179), February 18,
 25                                                    2016 (US000172-000175), January 18,
 26                                                    2017 (US000100-000102), February 1,
                                                       2017 (US000096-000098), February 16,
 27                                                    2017 (US000092-000095), February 13,
 28


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                          PLAINTIFFS' STATEMENT OF MATERIAL FACTS IN SUPPORT OF
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  1                                                    2018      (US000088-000091),        and
  2                                                    February 13, 2019 (US000067-000072).
       22. The United States Coast Guard               24. Exhibit 9 (Marine Information for
  3
       Vessels Inspection Reports generated            Safety     and     Law     Enforcement
  4    between July 2008 and February 2019             (“MISLE”) Activity Summary Reports
       for the Conception contained no                 for inspections of the Conception dated
  5
       remarks, deficiencies, or directives            November 25, 2008 (US002900-
  6    concerning the obvious fire hazards             002902), January 26, 2009 (US000195-
  7    acknowledged by United States Coast             00198), June 10, 2009 (US000351-
       Guard Commander Stephanie Hodgdon.              US000352), December 2, 2009
  8                                                    (US00346-00347), February 15, 2011
  9                                                    (US00339-000342), July 20, 2011
                                                       (US000275-000277), March 6, 2012
 10
                                                       (US00230-000232), February 7, 2013
 11                                                    (US000191-000193), September 24,
                                                       2013 (US00188-000190), February 18,
 12
                                                       2014 (US000184-00187), February 4,
 13                                                    2015 (US00176-00179), February 18,
 14                                                    2016 (US000172-00175), January 18,
                                                       2017 (US000100-000102), February 1,
 15                                                    2017 (USA000096-00098), February
 16                                                    16,      2017      (US000092-000095),
                                                       February 13, 2018
 17
                                                       (US000088-000091), and February 13,
 18                                                    2019 (US000067- 000072).
 19
       24. The last U.S. Coast Guard                   25. Exhibit 9 (Marine Information for
       inspector in a position to address and          Safety     and     Law     Enforcement
 20    rectify these obvious fire hazards before       (“MISLE”) Activity Summary Reports
 21    the September 2, 2019, tragedy, was             for inspections for Conception dated
       United States Coast Guard Chief                 February 13, 2019. (US000067-
 22    Warrant Officer Daniel Hager, when he           000072); Exhibit 11 (June 8, 2023,
 23    performed his inspection of Conception          deposition of Chief Warrant Officer
       on February 13, 2019.                           Daniel Hager at Pgs. 12:6-14; 71:18-
 24
                                                       72:8; 127:16-128:6).
 25    26. Chief Warrant Officer Hager                 26.          Exhibit 11 (June 8, 2023,
 26    admitted the Grosfillex garden chairs           deposition of the United States Coast
       were a potential fire hazard.                   Guard Chief Warrant Officer Daniel
 27                                                    Hager at Pgs. 93:1-10, 93:24-94:11).
 28


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                          PLAINTIFFS' STATEMENT OF MATERIAL FACTS IN SUPPORT OF
                              OPPOSITION TO UNITED STATES’ MOTION TO DISMISS
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  1    27. Chief Warrant Officer Hager 27. Exhibit 11 (June 8, 2023
  2    performed       inspections     of   the deposition of United States Coast Guard
       Conception on February 18, 2016, Chief Warrant Officer Daniel Hager at
  3    February 16, 2017, February 13, 2018, Pgs. 62:20-64:19, 93:1-10, 93:25,
  4    and February 13, 2019, recalled 94:11; Exhibit 9 (Marine Information
       observing the Grosfillex garden chairs for Safety and Law Enforcement
  5
       in Conception’s salon during those (“MISLE”) Activity Summary Reports
  6    inspections, but failed to write them up for inspections of Conception dated
  7    as a potential fire hazard.              February 4, 2015 (US 000176-
                                                000179),February 18, 2016 (US000172-
  8                                             000175), January 18, 2017 (US000100-
  9                                             000102), February 1, 2017 (US000096-
                                                000098),      February     16,     2017
 10                                             (US000092-000095), February 13, 2018
 11                                             (US000088-000091), and February 13,
                                                2019 (US000067-000072).
 12
 13
 14    28. On August 25, 2000, Coast Guard            28. Exhibit 1 (NTSB Marine
       inspectors issued a deficiency notice to       Accident Report at pg. 22; Exhibit 9
 15    Conception for having non-approved             (Marine Information for Safety and Law
 16    wiring in some of its AC electrical            Enforcement (“MISLE”) Activity
       system.                                        Summary Report for the inspection of
 17
                                                      Conception dated August 25, 2000
 18                                                   (US003172-US003175).
 19    29. Instead of stranded or braided             29. Exhibit 1 (NTSB Marine
       conducted core wire, Conception was            Accident Report at Pg. 22; Exhibit 9
 20    equipped with flexible service wire,           (Marine Information for Safety and Law
 21    similar in type to that used in                Enforcement (“MISLE”) Activity
       commercially sold extension cords.             Summary Report for the inspection of
 22                                                   Conception dated August 25, 2000
 23                                                   (US003172-003175).
       30. That flexible service wire had             30. Exhibit 9 (Marine Information for
 24
       been installed by the boat builder and         Safety     and    Law      Enforcement
 25    approved by Coast Guard inspectors in          (“MISLE”) Activity Summary Report
 26    1981 during the original construction of       for the inspection of Conception dated
       the vessel.                                    August      25,   2000      (US003172-
 27                                                   US003175); Exhibit 1 (NTSB Marine
 28                                                   Accident Report at Pg. 22.)


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  1    31. Truth Aquatics appealed the                31. Exhibit 9 (Marine Information for
  2    August 5, 2000, deficiency notice and          Safety     and    Law      Enforcement
       requested a waiver to the Coast Guard’s        (“MISLE”) Activity Summary Report
  3    requirements, but the appeal was denied.       for the inspection of Conception dated
  4                                                   August      25,   2000      (US003172-
                                                      US003175); Exhibit 1 (NTSB Marine
  5
                                                      Accident Report at Pg. 22).
  6    31. Although the inspection reports            31. Exhibit 9 (Marine Information for
  7    indicated this deficiency was cleared by       Safety     and    Law      Enforcement
       March 2002, inspections of the                 (“MISLE”) Activity Summary Report
  8    wreckage of the Conception conducted           for the inspection of Conception dated
  9    on June 27 and June 28, 2021, and              March      15,    2002      (US003134-
       during a subsequent inspection of the          US003137); Ebersole Declaration.
 10
       wreck in Port Hueneme on August 8
 11    through August 12, 2022, plaintiffs’
       experts found non-marine grade wiring
 12
       in the forward area of the bunkhouse.
 13    32. Immediately after the Conception           32. Exhibit 1 (NTSB            Marine
 14    fire involving Conception, the Coast           Accident Report at Pg. 60).
       Guard OCMIs inspected the Vision, and
 15    discovered nineteen aboard that vessel.
 16    33. The OCMIs from MSD Santa            33. Exhibit 9 (Marine Information for
       Barbara failed to inspect, examine or   Safety     and    Law     Enforcement
 17
       test any aspect of Conception’s         (“MISLE”) Activity Summary Reports
 18    electrical system during the inspectionsfor the inspection of Conception dated
 19    they conducted aboard that vessel on    March      19,    2004    (US003127-
       March 19, 2004, January 26, 2011,       US003139),      January    26,   2011
 20    September 24, 2013, February 4, 2015,   (US000343-000345), September 24,
 21    and February 13, 2019.                  2013 (US000188-000190), February 4,
                                               2015      (US000176-000178),       and
 22                                            February 13, 2019 (US000067-000072).
 23    34. Chief Warrant Officer Hager 34             Exhibit 11 (June 8, 2023,
       admitted that the provisions of 46 CFR deposition of Chief Warrant Officer
 24
       § 176.806 required him and his fellow Daniel Hager at Pgs. 14:23-115:2).
 25    OCMIs to inspect Conception’s
 26    electrical system each and every time
       they inspected that vessel.
 27    35. In his 2017 and 2018 MISLE 35. Exhibit 9 (Marine Information for
 28    entries memorializing his findings from Safety     and    Law     Enforcement


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                         PLAINTIFFS' STATEMENT OF MATERIAL FACTS IN SUPPORT OF
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  1    the annual inspections of Conception, (“MISLE”) Activity Summary Reports
  2    Chief Hager noted that he inspected the for Chief Warrant Officer Daniel
       Conception’s electrical system.          Hager’s inspections of Conception
  3                                             dated February 16, 2017 (US000092-
  4                                             000095) and February 13, 2018
                                                (US000088-000091).
  5
       36. However, in Chief Hager’s final 36. Exhibit 9 (Marine Information for
  6    Annual Assessment Form for the Safety              and    Law      Enforcement
  7    Conception dated February 13, 2019, (“MISLE”) Activity Summary Report
       there is no notation that the vessel’s for the inspections of Conception dated
  8    electrical system was inspected.         February 13, 2019 (US000067-000072).
  9    37. Chief Hager admitted that this 37. Exhibit 11 (June 8, 2023,
       omission supported an inference that he deposition of United States Coast Guard
 10
       did not inspect the vessel’s electrical Chief Warrant Officer Daniel Hager at
 11    system during its last annual inspection Pgs. 132:12-133:3).
 12
       before the fire.”

 13
 14
       38. Lieutenant Commander Joseph                 38. Exhibit 17 (May 25, 2023,
 15
       Price-Larson was the supervisor of the          deposition of Lieutenant Commander
 16    Marine Safety Detachment (MSD) in               Joe Price-Larson at Pgs. 22:21-25:20).
       Santa Barbara from 2018 through 2021.
 17
       39. Lieutenant Commander Price-                 39. Exhibit 17 (May 25, 2023,
 18    Larson was also designated by the               deposition Lieutenant Commander Joe
 19    United States Coast Guard as the Person         Price-Larson at Pgs. 63:18-64:18).
       Most Qualified concerning the history,
 20    purpose, meaning and day-to-day
 21    application of the provisions of 46 CFR
       sections 175.100-185.910.
 22
       40. In his capacity as a PMQ,                   40. Exhibit 17 (May 25, 2023,
 23    Lieutenant Commander Joseph Price-              deposition of the United States Coast
 24    Larson testified that the regulations in        Guard Lieutenant Commander Price-
       the Marine Safety Manual also imposed           Larson at Pgs. 110:12-20).
 25    mandatory       duties      upon      his
 26    contemporary OCMIs at MSD Santa
       Barbara to inspect and assess all vessel
 27    systems for safety issues, including, but
 28    not limited to: 1) electrical generator


                                                   9
                          PLAINTIFFS' STATEMENT OF MATERIAL FACTS IN SUPPORT OF
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   1   systems; 2) engineering; 3) firefighting;
   2   4) navigation; 5) escape routes; and 6)
       engine issues.
   3
       41. In his capacity as a PMQ,                 41. Exhibit 17 (May 25, 2023
   4   Lieutenant Commander Joseph Price-            deposition of Lieutenant Commander
       Larson also testified that the OCMI’s         Price-Larson at Pgs. 89:12-24).
   5
       inspectors are obligated to document the
   6   scope of their inspections in their
   7   MISLE Activity Summary Reports.
       42. In his capacity as a PMQ,                 42. Exhibit 17 (May 25, 2023,
   8   Lieutenant Commander Price-Larson             deposition of Lieutenant Commander
   9   also testified that his OCMIs were            Price-Larson at Pgs. 90:21-92:8).
       likewise obligated to document in their
  10
       MISLE reports that they inspected the
  11   subject vessel’s electrical system.
  12   43. In his capacity as a PMQ,                 43. Exhibit 17 (May 25, 2023
       Lieutenant Commander Joseph Price-            deposition of Lieutenant Commander
  13   Larson further testified that during          Joe Price-Larson at Pgs. 48:19-51:1).
  14   annual inspections that inspectors are
       obligated to inspect every vessel system
  15   and to document whether or not each
  16   system is in satisfactory condition.
       44. When deficiencies are detected,           44. Exhibit 17 (May 25, 2023
  17
       the inspector is obligated to fill out a      deposition of the United States Coast
  18   CG-835 Deficiency Form and perform            Guard Lieutenant Commander Joe
  19   an appropriate follow up inspection to        Price-Larson in his capacity as Person
       ensure the safety deficiencies are            Most Qualified under Rule 30(b)(6) at
  20   rectified.                                    Pgs.103:7-15, 105:7-109:3).
  21   45. In his capacity as a PMQ,                 45. Exhibit 17 (May 25, 2023,
       Lieutenant Commander Price-Larson             deposition of Lieutenant Commander
  22
       finally testified that inspectors have a      Price-Larson at Pgs. 94:11-15).
  23   mandatory duty to verify that all
  24
       electrical wiring and cable is listed by
       Underwriters Laboratories (UL) as UL
  25   Boat or UL Marine Cable, and to ensure
  26   that it is properly insulated.
       46. The Chief Warrant Officer                 46. Exhibit 9 (Marine Information for
  27   William DeCamp issued an electrical           Safety  and     Law     Enforcement
  28   deficiency instructing Glenn Fritzler         (“MISLE”) Activity Summary Report


                                                   10
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   1   and Truth Aquatics, Inc., to remove all       for the inspection of Conception dated
   2   welding cable from the 24-volt electrical     July 20, 2011 (US000275-000277).
       system aboard Conception and to
   3   replace it with approved cable, as
   4   required by 46 CFR 183.340.
       47. On January 24, 2013, Chief                47. Exhibit 9 (Marine Information for
   5
       Warrant Officer DeCamp cleared the            Safety     and    Law     Enforcement
   6   “outstanding deficiency from before to        (“MISLE”) Activity Summary Report
   7   replace all welding cable in the 12-volt      for the inspection of Conception dated
       [sic] system.”                                January 24, 2013 (US003834-003835).
   8   48. On July 19, 2013, DeCamp’s                48. Exhibit 15 (Marine Information
   9   previous January 24, 2013, Activity           for Safety and Law Enforcement
       Summary Report was “submitted for             (“MISLE”) Activity Summary Report
  10
       review.”                                      for the inspection of Conception dated
  11                                                 July 19, 2013 (US003832-003833).
  12   49. Superimposed in the right-hand            49. Exhibit 15 (Marine Information
       corner of the July 19, 2013, MISLE            for Safety and Law Enforcement
  13   Activity Summary Report is a stamp            (“MISLE”) Activity Summary Report
  14   referencing the initials of personnel who     for the inspection of Conception dated
       signed off on the review on September         July 19, 2013 (US003832-003833).
  15   24, 2019.
  16   50. In a MISLE Activity Summary               50. Exhibit 9 (Marine Information for
       Report dated September 24, 2013,              Safety     and    Law     Enforcement
  17
       DeCamp’s previous representation that         (“MISLE”) Activity Summary Report
  18   the electrical deficiency had been            for the inspection of Conception dated
  19   cleared on January 24, 2013, was              September 24, 2013 (US000188-
       deleted and changed to reflect that there     000190).
  20   had been “no inspection” of
  21   Conception’s electrical system on
       January 24, 2013.
  22
       51. In her capacity as a PMQ,                 51. Exhibit 6 (April 12, 2023
  23   Commander Hodgdon, admitted that 46           deposition of Commander Stefanie
  24
       CFR section 176.500 was a directive           Hodgdon at Pg. 26:2-14).
       over which an OCMI had no discretion.
  25   52. In her capacity as a PMQ, During          52. Exhibit 6 (April 12, 2023,
  26   her deposition, Commander Hodgdon             deposition of United States Coast Guard
       further admitted that OCMIs from MSD          Commander Stefanie Hodgdon at Pgs.
  27   Santa Barbara had a mandatory duty to:        217:18-218:10, Pgs.
  28   1) prepare for their periodic inspection


                                                   11
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   1   by reviewing the information archived         90:21-91:23, Pg. 89:25-91:23, 93:14-
   2   about that vessel and her prior               98:3, 122:19-123:9; 168:17-169:4).
       inspections in the Coast Guard’s MISLE
   3   database; 2) write up all safety
   4   deficiencies they spotted during the
       inspection; 3) log those deficiencies into
   5
       the MISLE database by means of a CG
   6   Form 835; and 4) ensure through
   7   “objective evidence” that those
       deficiencies were rectified during an
   8   appropriate follow up inspection.
   9   53. In her capacity as PMQ,                   53. Exhibit 6 (April 12, 2023,
       Commander Hodgdon further conceded            deposition of Commander Stephanie
  10
       that both the Old-T and New-T                 Hodgdon at Pgs. 220:16-224:23).
  11   Regulations placed vessel inspectors
       under a mandatory duty to verify “as far
  12
       as practicable” per 46 CFR section
  13   176.806, 183.200, and 183.340, that all
  14   electric wiring and cable was, at the very
       least     “listed    by     Underwriters
  15   Laboratories (UL) as UL boat or UL
  16   marine cable.”
       54. In her capacity as PMQ,                   54. Exhibit 6 (April 12, 2023,
  17
       Commander Hodgdon stated that                 deposition of Commander Stephanie
  18   objective evidence in the form of repair      Hodgdon at Pgs. 95:21-96:21).
  19
       records from a certified repair company,
       a licensed electrician, or an inspector’s
  20   personnel observation, would be
  21   required in order to clear a safety
       deficiency related to electrical wiring or
  22   cable.
  23   55. In her capacity as PMQ,                   55. Exhibit 6 (April 12, 2023,
       Commander Hodgdon also confirmed              deposition of Stefanie Hodgdon at Pgs.
  24
       that deficiencies cannot be cleared by        213:12-214:14, 97:19-99:3, 95:21-
  25   doing nothing.                                96:21).
  26
       57. No objective evidence was 57. Exhibit 9 (Marine Information for
  27   produced by the United States Coast Safety  and     Law   Enforcement
  28   Guard indicating that any certified (“MISLE”) Activity Summary Reports


                                                    12
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   1   repair company or licensed electrician        for inspections of the Conception dated
   2   ever rectified the welding cable              March 6, 2012 (US00230-000232),
       deficiency originally issued on July 20,      February 7, 2013 (US000191-000193),
   3   2011.                                         September 24, 2013 (US00188-
   4                                                 000190),      February     18,    2014
                                                     (US000184-00187), February 4, 2015
   5
                                                     (US00176-00179), February 18, 2016
   6                                                 (US000172-00175), January 18, 2017
   7                                                 (US000100-000102), February 1, 2017
                                                     (USA000096-00098), February 16,
   8                                                 2017 (US000092-000095), February
   9                                                 13, 2018 (US000088-000091), and
                                                     February 13, 2019 (US000067-
  10                                                 000072).
  11
  12
       58. Photographs taken by the FBI              60. Exhibit 18 NTSB Group
  13   during the post-accident investiga-tion       Chairman’s      Factual  Report  –
  14   of the Conception catastrophe, revealed       Engineering Group dated August 18,
       a hole in the copper water main pipe          2020, at Pgs. 10:12-27).
  15   caused by corrosion.
  16   59. Said pipe was designed to deliver         59. Exhibit 18 NTSB Group
       water from the vessel’s fire pump to the      Chairman’s      Factual  Report  –
  17
       fire stations located aboard on the fire      Engineering Group dated August 18,
  18   the port and starboard sides of               2020, at Pgs. 10:12-27).
  19   Conception’s main deck housthe aft
       cabin with each fire station equipped
  20   with a 50-foot fire hose, a valve to open
  21   or shut down the flow of water, and
       electric on and off buttons.
  22
       60. The water supply was designed to          Exhibit 18 NTSB Group Chairman’s
  23   be delivered via a fire pump located in       Factual Report – Engineering Group
       the engine room; a valve in the engine        dated August 18, 2020, at Pgs. 10:12-
  24
       room could be manipulated to use the          27).
  25   pump to drain bilge water, if needed,
  26   and then to realign the valve to be ready
       to pump water to the fire stations
  27   through a common copper water main in
  28   the event of the fire.


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   1   61. The Annual Inspection Records              61. Exhibit 9 Marine Information for
   2   generated by The United States Coast           Safety     and     Law     Enforcement
       Guard pertaining to the Conception for         (“MISLE”) Activity Summary Reports
   3   2017, 2018, and 2019 indicate the fire         for the inspections of Conception dated
   4   hoses and fire system was never                February 16, 2017 (US000092-000095),
       activated and tested.                          February 13, 2018 (US000088-000091),
   5
                                                      and February 13, 2019 (US000067-
   6                                                  000072).
   7   62. On February 18, 2016, Chief                62. Exhibit 9 (Marine Information for
       Warrant Officer Hager, issued a no-sail        Safety     and     Law     Enforcement
   8   deficiency for Conception because              (“MISLE”) Activity Summary Report
   9   access to the fire pump was not                for inspections of Conception dated
       available.       In order to clear the         February 18, 2016 (US000171-000178).
  10
       deficiency, it was incumbent upon the
  11   owner to “prove proper operation of the
       fire pump” and this was presumably
  12
       done on February 19, 2016, when the
  13   deficiency was cleared by Chief
  14   Warrant Officer, Michael Young. On
       that date, Chief Warrant Officer Young
  15   attended the vessel and witnessed proper
  16   operation of the fire pump with a 50 foot
       hose, noting that the condition was “ . . .
  17
       all sat” (i.e., satisfactory).
  18   63. On February 16, 2017, Chief                63. Exhibit 9 Marine Information for
  19
       Warrant Officer Hager Officer Hager            Safety     and    Law     Enforcement
       inspected Conception’s firefighting            (“MISLE”) Activity Summary Report
  20   appliances for the very last time but          for the inspection of Conception dated
  21   there was no indication in his MISLE           February 16, 2017 (US000092-
       Activity Summary Report that the fire          US000095).
  22   pump or fire main was actually activated
  23   and tested.
       64. Nor is there any indication that           64. Exhibit 9 Marine Information for
  24
       the fire pump or fire main was actually        Safety     and    Law     Enforcement
  25   activated or tested during the                 (“MISLE”) Activity Summary Report
  26   penultimate,          annual   inspection      for the inspection of Conception dated
       performed February 13, 2018.                   February 13, 2018 (US000088-
  27                                                  US000091).
  28


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   1   65. There is nothing in the February 65. Exhibit 9 Marine Information for
   2   13, 2018, MISLE Activity Summary Safety            and    Law     Enforcement
       Report generated by Chief Warrant (“MISLE”) Activity Summary Report
   3   Officer Hager to indicate that the fire for the inspection of Conception dated
   4   pump or fire main for the fire stations February
       was actually activated, or that that the 13, 2019 (US000088-US000091).
   5
       fire hoses were actively charged to see if
   6   they were in working condition.
   7   66. Chief Warrant Officer Hager last 66. Exhibit 9 Marine Information for
       performed an annual inspection of the Safety       and    Law     Enforcement
   8   Conception on February 13, 2019. (“MISLE”) Activity Summary Report
   9   Under the heading “Fire Fighting,” for the inspection of Conception dated
       Hager noted:          “Inspected vessel February 13, 2019 (US000088-
  10
       firefighting appliances to include six US000091).
  11   portable fire extinguishers and a fixed
       C02 system for the emergency room
  12
       which were all serviced by Langkilde’s
  13   Fire Protection.”
  14   67. In his last report, Chief Warrant 67. Exhibit 10 Marine Information
       Officer Hager also documented that the for Safety and Law Enforcement
  15   crew completed satisfactory Man (“MISLE”) Activity Summary Report
  16   Overboard and Simulated Fire Drills; for the inspection of Conception dated
       however, there was documentation that February
  17
       the fire pumps or hoses were actually 13, 2019 (US000088-US000091).
  18   activated or inspected by Hager during
  19
       the 2019 annual inspection.
       70. Conception was built of wood and 70. Defense Exhibit F (Certificate of
  20   fiberglass, was launched in 1981, was Inspection Issued on November 19,
  21   based in Santa Barbara, and was 2014).             Exhibit 21 (Certificate of
       inspected and certified by the United Inspection Issued on November 19,
  22   States Coast Guard to carry up to ninety- 2014)
  23   nine passengers on coastwise voyages
       under 46 CFR, Chapter I, Subchapter T.
  24
        71.     Plaintiffs petitioned this Court CV 23-985 PA (MRWx) ECF 55
  25   under United States ex rel. Touhy v.
  26   Ragen, 340 U.S. 462, 468 (1951), to
       compel the Department of Justice
  27   (“DOJ”) to produce information the
  28


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   1   DOJ was withholding pending the
   2   outcome of the Boylan procecution.
   3
   4   Dated: July 8, 2024                         McGUINN, HILLSMAN & PALEFSKY
                                                   NELSON & FRAENKEL LLP
   5                                               SALTZ MONGELUZZI & BENDESKY
   6                                               Lead Counsel for All Plaintiffs
   7
   8                                               By:     /s/ John R. Hillsman _
                                                           JOHN R. HILLSMAN
   9
  10
  11
                                                   WALKUP MELODIA KELLY
  12
                                                           SCHOENBERGER
  13
                                                   PANISH SHEA BOYLE & RAVIPUDI LLP
  14
                                                   FIORE ACHERMAN, A Law Corp.
  15
                                                   SCHUERING ZIMMERMAN & DOYLE,
  16
                                                           LLP
  17
                                                   KREINDLER & KREINDLER LLP
  18
                                                   LAW OFFICE OF W. RUSSELL FIELDS
  19
                                                   GALINE FRYE FITTING & FRANGOS
  20
  21
                                                   ARNOLD & ITKIN LLP

  22                                               TODD M. ABBOTT, ESQ.
  23
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